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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JOSBEL GARCIA,

                           Petitioner,
      v.                                                    DECISION AND ORDER
                                                                13-CR-83S (9)
UNITED STATES OF AMERICA,

                           Respondent.




                                   I. INTRODUCTION

      Presently before this Court is Petitioner Josbel Garcia’s petition for a writ of error

coram nobis. See Docket No. 701. Garcia, a citizen of Cuba now facing removal from

the United States, contends that vacatur of his conviction is required because his attorney

was ineffective in advising him about the immigration consequences of his guilty plea, in

violation of his Sixth Amendment rights. The government opposes Garcia’s petition. For

the reasons discussed below, Garcia’s petition is denied.

                                   II. BACKGROUND

      On December 8, 2017, Garcia appeared before this Court, waived indictment, and

pleaded guilty to a single-count superseding information that charged him with violating

21 U.S.C. § 843 (b) (use of a communication facility to facilitate a drug felony). See

Docket Nos. 607-610. Garcia pleaded guilty with the benefit of a plea agreement, in which

he acknowledged, inter alia, his understanding that, due to his guilty plea and conviction,

he “may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.” See Plea Agreement, Docket No. 609, ¶ 13. He further

acknowledged his understanding of the immigration consequences of his guilty plea as


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follows:

                The defendant recognizes that pleading guilty may have
                consequences with respect to the defendant’s immigration
                status as the defendant is not a citizen of the United States.
                Under federal law, the crime to which the defendant is
                pleading guilty is a removable offense. The defendant
                understands that, as a result of the offense to which the
                defendant is pleading guilty, removal is presumptively
                mandatory. Removal and other immigration consequences
                will be the subject of a separate proceeding, however, and the
                defendant understands that no one, including the defendant’s
                attorney or the Court, can predict to a certainty the effect of a
                conviction in this case on the defendant’s immigration status.
                The defendant nevertheless wants to plead guilty regardless
                of the immigration consequences of a conviction on the
                defendant’s immigration status, even if the consequence is
                the defendant’s automatic removal from the United States.

See id. ¶ 14.

       During the plea allocution, Garcia likewise acknowledged his understanding of the

immigration consequences of his guilty plea and conviction as follows:

                Court:        And in the event that you are convicted you may
                              be subject to remova[l] from the United States.
                              And if that happens, you cannot reenter without
                              the express authority of the Attorney General or
                              the Secretary of Homeland Security. Do you
                              understand that?

                Defendant:    Yes, Your Honor.

                Court:        And I take it, citizenship is still an issue; is that
                              right?

                Defense       Mr. Garcia is Cuban, Judge. I have gone over
                counsel:      that and he sought other counsel on that issue.
                              He fully understands the contents of section 5
                              [Alien Status].

                Court:        All right. And so he is not a US citizen?

                Defense       He is not a citizen.
                Counsel:

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Plea Transcript, Docket No. 669, pp. 8-9.

       On July 30, 2018, the assigned probation officer filed the Presentence

Investigation Report, which notes that “[c]ontact with Immigration & Customs

Enforcement revealed that following the defendant’s sentence in this case, he may be

placed in removal proceedings . . . [t]he issue of possible deportation will be decided

thereafter.”   See Presentence Investigation Report, Docket No. 620, ¶ 78.        In his

Statement with Regard to Sentencing Factors, Garcia acknowledged that he reviewed

the Presentence Investigation Report with his lawyer and did not object to it. See Docket

No. 625.

       On September 12, 2018, this Court sentenced Garcia to time served and one year

of supervised release. See Docket Nos. 626, 627. During the sentencing proceeding,

the following exchange occurred concerning Garcia’s immigration status:

               Court:      . . . There was a reference to some deportation
                           concerns here. Where are we on that?

               Defense:    So, Judge, Mr. Garcia and I have, obviously,
               counsel     been discussing this since I was assigned. I
                           wasn’t the first lawyer on the case, but I did
                           encourage him to consult with an immigration
                           lawyer.

                           And basically, he is Cuban, but he’s a
                           permanent resident here in the United States,
                           so under the Cuban Adjustment Act, as the
                           Court knows, he is afforded certain protections.

                           It doesn’t mean a deportation order can’t be filed
                           against him; however, in the last two years, only
                           about 200 Cuban nationals have actually been
                           deported. Most Cubans, even if they’re taken
                           into custody by ICE, can only be held for up to
                           12 months and then generally are released,
                           because we don’t have official relations with the

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                                  Castro administration in Cuba.

                                  And so Mr. Garcia, now that he has been
                                  convicted of a felony crime, would be subject to
                                  a deportation order but, according to an
                                  immigration attorney I spoke with and the
                                  information that he obtained, unlikely to actually
                                  be deported.

                  Court:          All right. There’s nothing that’s of record at the
                                  present time. I mean, that’s just looming, right?

                  Defense:        Correct, and it may loom for the rest of his life in
                  counsel         America.

Sentencing Transcript, Docket No. 668, pp. 5-6.

          The Clerk of Court entered judgment on September 18, 2018. See Docket No.

627. Garcia did not appeal nor did he collaterally attack his sentence under 28 U.S.C. §

2255.

          On July 23, 2019, the Department of Homeland Security issued Garcia a Notice to

Appear in removal proceedings, charging him as removable from the United States under

§§ 237 (a)(2)(A)(iii) and (a)(2)(B)(i) of the Immigration and Nationality Act due to his

conviction in this case. See Affidavit of Jillian Nowak, Esq. 1 (“Nowak Aff.”), Docket No.

696-3, ¶ 6. Thereafter, Immigration Judge Susan Aikman sustained the charges of

removability on February 26, 2020, and subsequently denied Garcia’s applications for

relief from removal and ordered him deported to Cuba on June 8, 2020. See id. at ¶¶ 7-

9.

          In an attempt to avoid removal from the United States, Garcia filed the instant

petition for a writ of error coram nobis to vacate his conviction on August 20, 2020, two

years and nine months after he entered his guilty plea. See Docket No. 701. After full


1   Ms. Nowak represents Garcia in his current immigration proceedings. See Nowak Aff., ¶ 2.

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briefing, this Court took the petition under advisement without oral argument on

September 17, 2020. See Docket Nos. 696, 701, 705, 710.

                                      III. DISCUSSION

   A. Legal Standard

       A writ of error coram nobis is an “extraordinary remedy” authorized under the All

Writs Act, 28 U.S.C. § 1651 (a), that “issues only in extreme cases.” United States v.

Denedo, 556 U.S. 904, 911, 916, 129 S. Ct. 2213, 173 L. Ed. 2d 1235 (2009); see also

Porcelli v. United States, 404 F.3d 157, 158 (2d Cir. 2005). The writ is “typically available

only when habeas relief is unwarranted because the petitioner is no longer in custody,”

Kovacs v. United States, 744 F.3d 44, 49 (2d Cir. 2014), and is “a remedy of last resort,”

Fleming v. United States, 146 F.3d 88, 89 (2d Cir. 1998) (per curiam), that is “strictly

limited to those cases in which ‘errors . . . of the most fundamental character’ have

rendered ‘the proceeding itself irregular and invalid,’” Foont v. United States, 93 F.3d 76,

78 (2d Cir. 1996) (quoting United States v. Carter, 437 F.2d 444, 445 (5th Cir. 1971) (per

curiam)). Such is the rarity of the writ that the United States Supreme Court has stated

that “‘it is difficult to conceive of a situation in a federal criminal case today where a writ

of coram nobis would be necessary or appropriate.’” Carlisle v. United States, 517 U.S.

416, 429, 116 S. Ct. 1460, 134 L. Ed. 2d 613 (1996) (quoting United States v. Smith, 331

U.S. 469, 475 n.4, 67 S. Ct. 1330, 91 L. Ed. 1610 (1947)).

       To obtain a writ of error coram nobis, a petitioner must establish three elements.

First, the petitioner must demonstrate that “there are ‘circumstances compelling such

action to achieve justice.’” Foont, 93 F.3d at 79 (quoting Nicks v. United States, 955 F.2d

161, 167 (2d Cir. 1992)).      As particularly relevant here, “[i]neffective assistance of



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counsel, including during the plea-bargaining process, is a circumstance compelling the

grant of a timely application for coram nobis relief.” Doe v. United States, 915 F.3d 905,

910 (2d Cir. 2019) (citing Kovacs, 744 F.3d at 49).

       Second, the petitioner must establish that “‘sound reasons exist[ ] for failure to

seek appropriate earlier relief.’” Foont, 93 F.3d at 79 (quoting United States v. Morgan,

346 U.S. 502, 512, 74 S. Ct. 247, 98 L. Ed. 248 (1954)). While no statute of limitations

applies, the writ may be barred by the passage of time. See Foont, 93 F.3d at 79. Indeed,

“[c]oram nobis relief is not available if the petitioner could have sought earlier relief,

including on direct appeal or through habeas corpus.” Martinez v. United States, 19-CV-

2044 (WFK), 2019 WL 2124513, at *2 (E.D.N.Y. May 15, 2019) (citing Calvert v. United

States, No. 06-CV-1722 (CBA), 2007 WL 160918, at *3 (E.D.N.Y. Jan 17, 2007)).

Whether the passage of time bars relief turns on the reasons the petitioner failed to raise

the issues earlier, with particular focus on “whether the petitioner is able to show justifiable

reasons for the delay.” Doe, 915 F.3d at 915.

       Third, the petitioner must establish that he “‘continues to suffer legal consequences

from his conviction that may be remedied by granting of the writ.’” Foont, 93 F.3d at 79

(quoting Nicks, 955 F.2d at 167). To satisfy this element, a “petitioner must at least point

to a concrete threat that an erroneous conviction’s lingering disabilities will cause serious

harm.” Fleming, 146 F.3d at 91 (finding that speculative harms do not state a claim for

coram nobis relief). Continuing immigration consequences generally meet this standard.

See, e.g., Kovacs, 744 F.3d at 49 (“There is no doubt that [defendant’s] likely ineligibility

to reenter the United States constitutes a continuing consequence of his conviction.”).

       The petitioner’s burden on each of these elements is heavy because the court



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“must presume that the proceedings were correct, and the burden of showing otherwise

rests on the petitioner.” United States v. Mandanici, 205 F.3d 519, 524 (2d Cir. 2000);

see also Foont, 93 F.3d at 78-79 (“[T]he petitioner’s conviction [is] presumed to be correct,

and ‘the burden rests on the accused to show otherwise.’”) (quoting Morgan, 346 U.S. at

512).

   B. Garcia’s Petition

        Garcia maintains that issuance of the writ is required to achieve justice because

his guilty plea was the product of ineffective assistance of counsel, rather than a knowing,

voluntary, and intelligent decision. He contends that he acted as soon as he learned that

his lawyer’s advice was wrong and that he continues to suffer legal consequences as a

result of his guilty plea in the form of imminent removal from the United States. As

explained below, however, Garcia fails to demonstrate that counsel’s erroneous advice

actually prejudiced him. A writ of error coram nobis is therefore not necessary to achieve

justice.

        The Sixth Amendment provides, in pertinent part, that "[i]n all criminal

prosecutions, the accused shall . . . have the Assistance of Counsel for his defence." U.S.

CONST. amend VI. It is well established that "the right to counsel is the right to the

effective assistance of counsel." Eze v. Senkowski, 321 F.3d 110, 124 (2d Cir. 2003)

(quoting McMann v. Richardson, 397 U.S. 759, 771 n.14, 90 S. Ct. 1441, 25 L. Ed. 2d

763 (1970)).    This right extends to the plea-bargaining process, where ineffective

assistance of counsel can invalidate a guilty plea “to the extent that the counsel’s deficient

performance undermines the voluntary and intelligent nature of the defendant’s decision

to plead guilty.” United States v. Arteca, 411 F.3d 315, 320 (2d Cir. 2005); see also



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Padilla v. Kentucky, 559 U.S. 356, 364, 130 S. Ct. 1473, 176 L. Ed. 2d 284 (2010).

       To demonstrate ineffective assistance of counsel, both prongs of the two-part test

from Strickland v. Washington must be met: (1) that counsel’s performance “fell below an

objective standard of reasonableness;” and (2) that counsel’s “deficient performance

prejudiced” the defendant. 466 U.S. 668, 687-88, 104 S. Ct. 2052, 80 L. Ed. 2d 674

(1984).

       To satisfy the first Strickland prong, it must be established that counsel’s conduct

fell below “an objective standard of reasonableness” under “prevailing professional

norms” such that it was “outside the wide range of professionally competent assistance.”

Id. at 688, 690. Under this prong, the court “must ‘indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance’ and

be watchful ‘to eliminate the distorting effects of hindsight.’” Aparicio v. Artuz, 269 F.3d

78, 95 (2d Cir. 2001) (quoting Strickland, 466 U.S. at 689). This is because “[t]here are

countless ways to provide effective assistance in any given case” and “[e]ven the best

criminal defense attorneys would not defend a particular client in the same way.”

Strickland, 466 U.S. at 689 (internal citation omitted). The question is ultimately “whether

an attorney’s representation amounted to incompetence under prevailing professional

norms, not whether it deviated from best practices or most common custom.” Harrington

v. Richter, 562 U.S. 86, 105, 131 S. Ct. 770, 178 L. Ed. 2d 624 (2011).

       To satisfy the second Strickland prong, it must be established that counsel’s

“deficient performance prejudiced the defense” such that “there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would

have been different.” See Strickland, 466 U.S. at 687, 694. The Second Circuit normally



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“requires some objective evidence other than defendant’s assertions to establish

prejudice,” Pham v. United States, 317 F.3d 182, 182 (2d Cir. 2003), because “not every

error that conceivably could have influenced the outcome undermines the reliability of the

result of the proceeding,” Strickland, 466 U.S. at 693.

       In the plea-bargaining context, “the defendant must show that there is a reasonable

probability that were it not for counsel’s errors, he would not have pled guilty and would

have proceeded to trial.” Arteca, 411 F.3d at 320. Further still, in the immigration-

consequences context, the defendant must show that “he placed particular emphasis on

immigration consequences in deciding whether or not to plead guilty” and that “but for

counsel’s unprofessional errors, there was a reasonable probability that the [defendant]

could have negotiated a plea that did not impact immigration status or that he would have

litigated an available defense.” Doe, 915 F.3d at 911 (citation omitted).

       Because both parts of the Strickland test must be satisfied to establish ineffective

assistance of counsel, failure to satisfy one part of the test frees a district court from

assessing whether the other part is satisfied. Strickland, 466 U.S. at 697 (noting that a

court need not “address both components of the [two-part Strickland] inquiry if the

defendant makes an insufficient showing on one”); see also Stouse v. Leonardo, 928 F.2d

548, 556 (2d Cir. 1991).

       This Court now turns to the Strickland analysis.

           1. Defense counsel misinformed Garcia as to the likelihood of his
              removal from the United States.

       A defense attorney’s failure to inform a defendant that a guilty plea carries a risk

of removal from the United States may constitute ineffective assistance of counsel. See

Padilla, 559 U.S. at 368-75; Rodriguez v. United States, 730 F. App’x 39, 42 (2d Cir.

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2018). Similarly, a defense attorney’s advice that a defendant may be removed as a

result of a guilty plea when removal is actually mandatory may also constitute

ineffectiveness. See United States v. Al Halabi, 633 F. App’x 801, 803 (2d Cir. 2015).

       Garcia claims that his attorney’s performance fell below an objective standard of

reasonableness because she wrongly advised him about the immigration consequences

of his guilty plea. Garcia’s allegations in this regard are inconsistent. On the one hand,

Garcia claims that counsel told him that he “was entering a plea to a negotiated charge

that would not subject [him] to deportation” and that counsel “promised” him that he would

not be deported. See Affidavit of Josbel Garcia (“Garcia Aff.”), Docket No. 696-4, ¶¶ 9,

14 (emphasis in original). On the other hand, Garcia claims that counsel told him that it

was “extremely unlikely” that he would face immigration consequences from his plea

because of certain protections afforded Cuban nationals under the Cuban Adjustment

Act. See id. at ¶¶ 9-11.

       The record does not support Garcia’s claims that he thought he was pleading to a

non-deportable offense or that counsel promised him that he would not be removed from

the United States. Garcia swore in the plea agreement and during the plea allocution that

he understood that his plea had immigration consequences and that no promises outside

of those in the plea agreement were made to him. The plea agreement, which Garcia

voluntarily endorsed, explicitly sets out the immigration consequences of his plea,

including that his offense of conviction is a removable offense, that he could be removed

from the United States, and that his removal was presumptively mandatory.               (Plea

Agreement, ¶¶ 13, 14.) The plea agreement further reflects Garcia’s understanding that

the effect of his guilty plea on his immigration status could not be predicted to a certainty,



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but that in any event, Garcia wished to enter his guilty plea regardless of any immigration

consequences, even if such consequences included automatic removal from the United

States. Id. at 14.

       Garcia confirmed his understanding of these provisions in both the plea agreement

and at the plea allocution. In the plea agreement, Garcia acknowledged that he had read

the full plea agreement, that he had a full opportunity to discuss the terms of the plea

agreement with his lawyer, that the agreement represented the total agreement between

himself and the government, that no promises or representations other than those

contained in the plea agreement were made to him, that he understood all of the

consequences of his guilty plea, that he fully agreed with the contents of the plea

agreement, and that he was entering the plea agreement voluntarily and of his own free

will. Id. ¶ 21 and p. 8. At the allocution, Garcia confirmed the he had separately consulted

an immigration lawyer, confirmed his understanding of the immigration consequences of

his plea, confirmed that no other promises had been made to him, and confirmed that he

was acting voluntarily. See Plea Transcript, pp. 8-9, 10, 11.

       Given this clear and complete record, there is no support for Garcia’s present

contention that he did not know that he was pleading to a deportable offense or that

defense counsel promised him that he would never be removed from the United States.

See United States v. Juncal, 245 F.3d 166, 171 (2d Cir. 2001) (finding that a defendant’s

sworn statements during a plea allocution “carr[y] such a strong presumption of accuracy

that a district court does not, absent a substantial reason to find otherwise, abuse its

discretion in discrediting later self-serving and contradictory testimony”).

       But Garcia’s other claim—that counsel misadvised him about the likelihood of



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being removed to Cuba—finds support in the record. Counsel explained at sentencing

that based on the opinion of consulting immigration counsel, she advised Garcia that he

was afforded certain protections from removal because he is a Cuban national. See

Sentencing Transcript, pp. 5-6. While correctly stating that Garcia’s status “doesn’t mean

a deportation order can’t be filed against him,” id., a fair reading of counsel’s comments

indicates that she advised Garcia that his chances of being removed from the United

States were remote. And this advice appears to have been rendered “since [counsel]

was assigned,” id., which was well before Garcia entered his guilty plea, see Docket No.

271.

       Garcia maintains that counsel’s assessment of his chances of being removed was

outdated because the United States had been normalizing its relations with Cuba and

had ended many of the protections previously afforded Cuban nationals, including

deferred removal. See Memorandum of Law, Docket No. 696-5, pp. 4-6. The government

does not contest that counsel’s advice was wrong, and courts have recognized that such

advice to Cuban nationals is objectively unreasonable. See United States v. Ferrera, 10-

CR-892 (VEC), 2020 WL 7342673, at *1-3 (S.D.N.Y. Dec. 14, 2020) (involving counsel’s

advice that Cuban national would be in “better shape” than non-Cuban nationals because

the United States lacked diplomatic relations with Cuba).

       Consequently, although this Court finds that Garcia knew that his guilty plea and

conviction would subject him to removal and that he was not promised otherwise, Garcia

nonetheless has established that counsel’s advice concerning the likelihood that he would

not be removed from the United States, which appears to have arisen directly from the

immigration-law consultation, fell below an objective standard of reasonableness. See



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id.

           2. Garcia was not prejudiced by counsel’s representation.

        To establish prejudice, Garcia must demonstrate that he placed particular

emphasis on the immigration consequences of a guilty plea in deciding whether to enter

one or not, and that if it were not for counsel’s error, there is a reasonable probability that

he could have either negotiated a plea with no immigration consequences or would have

pursued an available defense at trial. See Doe, 915 F.3d at 911.

        This Court first has little trouble finding that Garcia was particularly concerned

about the immigration consequences of any guilty plea given his personal and family ties

to the United States. See Garcia Aff. at ¶ 8. Garcia came to this country in 2004, when

he was just 13 years old, and became a permanent resident in 2009. See id. at ¶¶ 3, 4.

He has two young sons and helps raise his fiancé’s three children. See id. at ¶ 7. He

also serves as a sign-language interpreter for his deaf parents, who reside in the United

States. See id. at ¶ 5. Moreover, Garcia voiced concerns about being removed from the

United States in conferences before this Court, see, e.g., Docket No. 602 (“Defendant not

a US citizen which complicates plea.”), and counsel indicated at sentencing that she and

Garcia had discussed immigration concerns from the outset of her representation, see

Sentencing Transcript, p. 5. It is thus sufficiently established that Garcia was particularly

concerned about the immigration consequences of any guilty plea.

        But as to the remaining considerations, Garcia fails to demonstrate a reasonable

probability that a removal-free plea was available or that he would have pursued an

available defense at trial. See Doe, 915 F.3d at 911. Without any evidence, Garcia

maintains that the government was amenable to a plea disposition that would not have



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resulted in his removal from the United States, but that defense counsel failed to pursue

such a resolution because she mistakenly believed that he was unlikely to be removed in

any event. This is pure speculation. Garcia provides no evidence whatsoever in support

of this claim, and nothing in the record suggests that the government was amenable to or

tendered a plea offer free of immigration consequences. See Thomas v. United States,

19-CV-5675 (PAE), 01-CR-579 (PAE), 2020 WL 3428148, at *5 (S.D.N.Y. June 23, 2020)

(rejecting conjecture that counsel could have negotiated a plea devoid of immigration

consequences as speculative in the absence of evidence); Santana v. United States, No.

12 Civ. 2150 (JSR)(GWG), 2013 WL 717284, at *4 (S.D.N.Y. Feb. 28, 2013) (finding

against petitioner where he “provide[ed] no evidence whatsoever—other than

speculation—that such a deal [with no immigration consequences] was or would have

been available to him”).           Nor does Garcia identify an alternative charge lacking

immigration consequences that could reasonably have formed the basis of a different

pretrial resolution. Garcia therefore fails to establish a reasonable probability that counsel

could have negotiated a plea that would have no impact on his immigration status.

        So too, Garcia fails to establish a reasonable probability that he would have

pursued an available defense at trial in the absence of counsel’s error.                   Garcia claims

that he was ready to proceed to trial but decided to plead guilty only because of counsel’s

assurances that he was unlikely to face removal from the United States. See id. at ¶¶ 12,

13. Garcia does not, however, identify any available defenses; he simply claims that he

would have elected to go to trial. But that claim falters in the face of the government’s

case against him. 2 See Lee v. United States, __ U.S. __, 137 S. Ct. 1958, 1968, 198 L.


2This claim is also inconsistent with Garcia’s documented intention to resolve this matter via plea. As early
as December 2016, counsel advised that Garcia would not be going to trial. See Docket No. 458. Minute

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Ed. 2d 476 (2017) (“Courts should not upset a plea solely because of post hoc assertions

from a defendant about how he would have pleaded but for his attorney’s deficiencies.”).

        Garcia was indicted as part of the government’s prosecution of the “Loiza Boys,”

a group of 10 men, including Garcia, who distributed controlled substances on the West

Side of Buffalo. See Government’s Trial Brief, Docket No. 595, p. 2. The indictment

charged Garcia with conspiracy to possess with intent to distribute and to distribute one

kilogram or more of heroin and a quantity of cocaine, in violation of 21 U.S.C. § 846. See

Indictment, Docket No. 10 (Count 1). Each of Garcia’s co-defendants entered guilty

pleas, leaving Garcia as the lone defendant headed to trial. The government’s trial proof

was set to include statements by Garcia’s co-conspirators, wiretap interceptions,

testimony from law enforcement witnesses who observed Garcia selling heroin, and

Garcia’s own post-Miranda admission that he unlawfully distributed heroin. See id. at pp.

2-3, 7, 13. Garcia offers no viable defense to this evidence, which severely undermines

his post hoc insistence that he would have proceeded to trial if it were not for counsel’s

erroneous advice. See Lee v. United States, __ U.S. __, 137 S. Ct. 1958, 1966, 198 L.

Ed. 2d 476 (2017) (“A defendant without any viable defense will be highly likely to lose at

trial. And a defendant facing such long odds will rarely be able to show prejudice from

accepting a guilty plea that offers him a better resolution than would be likely after trial.”).

        If convicted at trial, Garcia would have been subject to a 10-year mandatory

minimum sentence of imprisonment. See 21 U.S.C. § 841 (b)(1)(A). Instead, Garcia

elected to accept the government’s offer to plead guilty to using a communication facility



entries from subsequent appearances reflect Garcia’s continuing efforts to press the government for
suitable plea offers leading up to the ultimate plea disposition in this case. See Docket Nos. 476, 484, 500,
552, 567, 602, 606. Given this history, Garcia’s present claim that he was dead set on proceeding to trial
rings hollow.

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to facilitate a drug felony, in violation of 21 U.S.C. § 843 (b), which carried no mandatory

minimum sentence and a maximum sentence of four years’ imprisonment. See Plea

Agreement, ¶ 1. This reduced charge further yielded a sentencing range of 10-16 months’

imprisonment, a far cry from the 10-year mandatory minimum Garcia faced if convicted

at trial. See id. at ¶ 9. Given the significant benefits provided in the plea agreement, it is

not objectively reasonable to conclude that Garcia accepted it only because counsel

advised him that he was unlikely to be removed from the United States. See Thomas,

2020 WL 3428148, at *5 (finding that “palpable benefit” of plea agreement rendered “not

credible” the petitioner’s claim that the only reason for his guilty plea was counsel’s

mistaken belief that it would carry no adverse immigration consequences). Avoiding a

lengthy period of incarceration no doubt significantly informed Garcia’s decision to forego

his trial right and plead guilty. See id.

       Accordingly, this Court finds that although Garcia has demonstrated that he was

particularly concerned about the immigration consequences of any guilty plea, he has not

established a reasonable probability that but for counsel’s incorrect advice, he could have

either negotiated a plea with no immigration consequences or would have pursued an

available defense at trial. See Doe, 915 F.3d at 911. He therefore fails to establish that

he was prejudiced by his attorney’s performance under the Strickland standard.

       Because Garcia fails to demonstrate that his guilty plea came as the result of

ineffective assistance of counsel, as alleged, a writ of error coram nobis is not required to

achieve justice and will therefore not issue.

   C. Certificate of Appealability

       For a certificate of appealability to issue, a petitioner must make a “substantial



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showing of the denial of a constitutional right.” 28 U.S.C. § 2253 (c)(2). To make the

required “substantial showing,” Garcia must establish that “reasonable jurists could

debate whether . . . the petition should have been resolved in a different manner or that

the issues presented were adequate to deserve encouragement to proceed further.”

Rhagi v. Artuz, 309 F.3d 103, 106 (2d Cir. 2002) (per curiam) (citations and internal

quotation marks omitted). Garcia has made no such substantial showing of the denial of

a constitutional right in this case. A certificate of appealability will therefore not be issued.

                                      IV. CONCLUSION

       Because Garcia has not demonstrated a fundamental error that rendered his guilty

plea irregular or invalid, see Foont, 93 F.3d at 78, he is not entitled to the extraordinary

remedy of a writ of error coram nobis to disturb his valid conviction. Garcia’s petition will

therefore be denied.

                                         V. ORDERS

       IT HEREBY IS ORDERED, that the Petition for Writ of Error Coram Nobis (Docket

No. 701) is DENIED.

       FURTHER, that this Court hereby certifies, pursuant to 28 U.S.C. § 1915 (a)(3)

and Rule 24 (a)(3) of the Federal Rules of Appellate Procedure, that any appeal from this

Decision and Order would not be taken in good faith and therefore leave to appeal as a

poor person is DENIED. See Coppedge v. United States, 369 U.S. 438, 82 S. Ct. 917, 8

L. Ed. 2d 21 (1962).




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         FURTHER, that a Certificate of Appealability under 28 U.S.C. § 2253 is DENIED.

         SO ORDERED.


Dated:         May 5, 2021
               Buffalo, New York
                                                         s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                      United States District Judge




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